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TN THE UNITEIIQ ` ‘ 9 ‘°D-'¢ T COURT
FOR THE WESTE ’ ’ ' OF TENNESSEE

~“-v' IHPON*

uNiTED sTATES oF AMERICA, LRT§J,I s
Plaimiff, "“'” '

V.
JOSE GUADALUPE VERA (FUGITIVE),

Defendant.

CR. No. 96-2013 9-]3

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ORDER TO DISMISS INDICTMENT

 

Upon motion of the United States, lT IS HEREBY ORDERED that above-named

individual is hereby dismissed without prejudice from the above referenced indictment

Ordered this EO<" day of August, 2005 .

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®oRABLE J DANIEL\BREEN

®ED STATES DISTRICT .TUDGE
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UNITED sTEATs DISTRICT COURT - WESTERN DISITRCT oFTENNEssEE

   
 

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 283 in
case 2:96-CR-20139 Was distributed by faX, mail, or direct printing on
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Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
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Honorable J. Breen
US DISTRICT COURT

